                    IN THE COURT OF APPEALS OF NORTH CAROLINA

                                       2021-NCCOA-186

                                        No. COA20-147

                                       Filed 4 May 2021

     Guilford County, Nos. 15 CRS 93682, 93853

     STATE OF NORTH CAROLINA

                   v.

     SHANION J. DONTA WATSON


             Appeal by defendant from judgments entered 12 July 2019 by Judge David L.

     Hall in Guilford County Superior Court. Heard in the Court of Appeals 10 March

     2021.


             Attorney General Joshua H. Stein, by Special Deputy Attorneys General Anne
             M. Middleton and Sherri Horner Lawrence, for the State.

             Michael E. Casterline for defendant-appellant.


             ZACHARY, Judge.


¶1           Defendant Shanion J. Donta Watson appeals from judgments entered upon a

     jury’s verdicts finding him guilty of first-degree murder under the felony-murder rule,

     felony larceny of a motor vehicle, and felony child abuse inflicting serious mental

     injury. On appeal, Defendant argues that we must vacate his first-degree murder

     conviction for two reasons: first, because the predicate felony underlying his

     conviction under the felony-murder rule—statutory rape of a child under the age of

     13—lacks an intent element, and second, because the jury acquitted Defendant of the
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     predicate felony. After careful review, we conclude that Defendant received a fair

     trial, free from error.

                                          Background

¶2          In December 2015, Chiquita Adams was living with her 11-year-old daughter,

     Tracy,1 in Greensboro, North Carolina. Defendant was Ms. Adams’ boyfriend. On the

     night of 24 December 2015, Ms. Adams and Tracy stayed in a hotel in High Point,

     North Carolina. Ms. Adams drove them there, and Defendant arrived at the hotel

     about an hour after Ms. Adams and Tracy checked in.

¶3          Tracy fell asleep at around 10:00 p.m. She awoke at approximately 2:00 a.m.

     and saw Defendant on the floor next to her bed. Defendant grabbed Tracy’s leg, picked

     her up, and carried her to the bathroom; she could not scream because he had his

     hand covering her mouth. However, Tracy was able to grab a pillow from the bed and

     threw it toward her mother. After Defendant placed Tracy on the bathroom sink and

     told her to “be quiet,” Ms. Adams opened the bathroom door. Tracy told her mother,

     “Please don’t leave me,” and Defendant told Ms. Adams, “don’t believe her.” When

     Ms. Adams approached Defendant, he knocked her to the floor and began hitting and

     choking her. After Ms. Adams lost consciousness, Defendant placed her on the bed

     and returned to the bathroom, telling Tracy, “pull your pants down.” Ms. Adams



            1 In accordance with N.C.R. App. P. 42, we refer to the juvenile by a pseudonym in

     order to protect her identity.
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     awakened, and she and Tracy tried to exit the hotel room, but Defendant stopped

     them. Ms. Adams and Defendant then engaged in a prolonged struggle. At one point,

     Tracy tried to use her cell phone—a Christmas gift from her father—to call 911, but

     Defendant grabbed it from her and put it in his pocket.

¶4         While Ms. Adams fought with Defendant, Tracy was in the bathroom

     screaming and praying. When she looked out of the bathroom, she saw her mother on

     the bed, not moving. Defendant again told Tracy to pull her pants down; this time,

     she did, and Defendant had sexual intercourse with her on the bed. Eventually,

     Defendant let her get up, and she ran to the bathroom and locked the door.

¶5         At some point, Tracy fell asleep in the hotel bed. When she awoke at around

     11:00 a.m., Defendant was still in the hotel room. Defendant told Tracy that Ms.

     Adams was asleep. Tracy touched her mother’s body and noticed that she was not

     breathing. Tracy had “a feeling that she was dead” but “didn’t want to believe it fully.”

     Defendant told Tracy to take a shower, so she did, and when she came out of the

     bathroom, Defendant had left with Ms. Adams’ car keys. The hotel housekeeper came

     to the door and asked where Tracy’s mother was. At first, Tracy told the housekeeper

     that her mother was asleep. Then she began to cry and said, “I don’t know, I don’t

     know. Help me, help me.” The housekeeper called 911.

¶6         The High Point Fire Department responded to the call first. After reporting

     that Ms. Adams was dead, the firefighters waited for law enforcement officers and
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     paramedics to arrive. Upon arrival at the scene, a High Point Police Department

     officer spoke with Tracy, who told him that Defendant was her mother’s boyfriend

     and provided Defendant’s name. She told police that her cell phone and her mother’s

     car were missing, and that she had tried to wake her mother up that morning, but

     she could not rouse her. Tracy appeared to law enforcement officers to be in shock;

     she did not tell the officers about the altercation between Defendant and her mother

     or that Defendant had sexual intercourse with her.

¶7         A phone carrier assisted detectives in determining the location of Tracy’s cell

     phone, which was “pinging” from an apartment in High Point. Upon their arrival to

     the apartment, the detectives spotted Ms. Adams’ tan Hyundai Sonata parked out

     front. A canine officer discovered Tracy’s cell phone behind the apartments. A phone

     carrier forwarded to detectives text messages sent from Defendant’s cell phone to his

     sister’s cell phone. Detectives went to Defendant’s sister’s apartment, and she told

     them that Defendant had been there earlier that afternoon, showered, changed his

     clothes, and left. Officers collected Defendant’s discarded clothes, which included

     clothing that matched the outfit he appeared to be wearing in video-camera footage

     captured when he left the hotel room. The shirt had a reddish stain on it.

¶8         An officer took Tracy to the Hope House Children’s Advocacy Center (“CAC”).

     A child interviewer with the CAC told Tracy that her mother was dead. Tracy told

     the interviewer that she had been asleep all night and did not hear anything.
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¶9           Detectives arrested Defendant at his sister’s apartment at around 10:00 p.m.

       on 26 December 2015.

¶ 10         On 28 December 2015, the Medical Examiner conducted an autopsy of Ms.

       Adams’ body that revealed that she had facial lacerations; bruises, abrasions, and

       lacerations in her mouth and on her tongue; and evidence of strangulation, including

       hemorrhages of the eyes, an abraded contusion on her neck, hemorrhaging in the

       muscles of her neck, and two fractures of the cricoid cartilage. The medical examiner

       concluded that Ms. Adams died as a result of strangulation.

¶ 11         On 28 December 2015, Tracy’s father arrived in North Carolina from Texas to

       pick up Tracy, and Tracy moved to Texas to live with him. In Texas, Tracy struggled

       in school, did not have many friends, did not want to sleep in a room by herself, and

       suffered from panic attacks. Tracy still had not told anybody what had happened to

       her or what she saw. Finally, in July 2017, she told her father what had happened.

       During an interview at a CAC in Texas, Tracy told an interviewer that Defendant

       had raped her and killed her mother.

¶ 12         On 12 July 2016, a Guilford County grand jury indicted Defendant for larceny

       of a motor vehicle, child abuse inflicting serious mental injury, and first-degree

       murder. On 15 August 2017, a Guilford County grand jury indicted Defendant for

       statutory rape of a child by an adult, in violation of N.C. Gen. Stat. § 14-27.23.

¶ 13         Defendant was tried during the 24 June 2019 session of Guilford County
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       Superior Court before the Honorable David L. Hall. Defendant represented himself,

       with standby counsel appointed. At the close of the State’s evidence, Defendant

       moved to dismiss the charges for insufficiency of the evidence. The trial court denied

       Defendant’s motion. The trial court instructed the jury on first-degree murder, on the

       bases of both premeditation and deliberation and on the felony-murder rule, with

       statutory rape as the predicate felony. The trial court also instructed the jury on

       second-degree murder, statutory rape of a child by an adult, felony larceny of a motor

       vehicle, and felony child abuse inflicting serious mental injury.

¶ 14         The jury convicted Defendant of first-degree murder under the felony-murder

       rule, felony larceny of a motor vehicle, and felony child abuse inflicting serious mental

       injury. The jury acquitted Defendant of statutory rape. After the jury rendered its

       verdicts, standby counsel renewed Defendant’s motion to dismiss for insufficiency of

       the evidence.

¶ 15         The trial court consolidated judgment on Defendant’s convictions for felony

       larceny of a motor vehicle and felony child abuse, entering one judgment on those

       convictions and one judgment on the conviction for first-degree murder. The trial

       court sentenced Defendant to life imprisonment without the opportunity for parole

       for the murder conviction, and imposed a consecutive 19- to 32-month sentence for

       the larceny and child-abuse convictions. Defendant noticed appeal in open court.

                                             Discussion
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¶ 16         On appeal, Defendant contends that this Court must vacate his conviction for

       first-degree murder based on the felony-murder rule for two interrelated reasons.

       First, Defendant contends that the predicate felony of statutory rape of a child under

       the age of 13 cannot support a felony-murder conviction because statutory rape lacks

       an intent element. Defendant argues that, because statutory rape is a strict-liability

       offense, it therefore lacks an intent element, and only attempted statutory rape—

       which Defendant concedes does include an intent element—could support felony

       murder. However, Defendant argues that in the instant case, the trial court did not

       properly instruct the jury on the charge of attempted statutory rape, and therefore,

       neither completed nor attempted statutory rape could support the felony murder

       conviction.

¶ 17         Defendant also raises a second, related argument: he contends that his first-

       degree murder conviction must be vacated because the jury acquitted him of the

       predicate felony underlying the State’s theory of felony murder. According to

       Defendant, because the jury was not instructed on attempted statutory rape, it could

       not properly consider that offense in support of its felony-murder verdict; thus, his

       first-degree murder conviction must be vacated.

¶ 18         After careful review, we hold that statutory rape sufficiently supported

       Defendant’s felony-murder conviction on the present facts, and that he is not entitled

       to vacatur of his conviction based on his acquittal of the predicate felony. Having so
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       concluded, we need not address Defendant’s argument that the jury was not properly

       instructed on attempted statutory rape. Therefore, we conclude that Defendant

       received a trial free from error.

       I. Preservation

¶ 19         As a preliminary matter, although Defendant characterizes the trial court’s

       alleged error as one relating to erroneous jury instructions, in fact, much of

       Defendant’s argument sounds in sufficiency of the evidence issues. However, defense

       counsel conceded at oral argument before this Court that the State presented

       sufficient evidence to send the charge of statutory rape to the jury. Defendant’s

       argument on appeal is, in essence, an argument that the charge of completed

       statutory rape is insufficient as a matter of law to support a felony-murder conviction,

       and in the alternative, that an acquittal of statutory rape renders the conduct

       insufficient as a matter of law to support a felony-murder conviction. The State

       argues that Defendant failed to preserve any sufficiency of the evidence issues for

       appeal by failing to make a properly timed motion to dismiss. We conclude that

       Defendant adequately preserved any sufficiency arguments.

¶ 20         At the close of the State’s evidence, Defendant moved to dismiss the charges

       for insufficiency of the evidence, which the trial court denied. Standby counsel, on

       behalf of Defendant, renewed the motion to dismiss after the jury rendered its

       verdicts but before the trial court entered judgment. This motion complied with N.C.
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       Gen. Stat. § 15A-1227, which governs motions for dismissal for insufficient evidence:

                    (a) A motion for dismissal for insufficiency of the evidence
                    to sustain a conviction may be made at the following times:

                           ....

                           (3) After return of a verdict of guilty and before entry
                           of judgment.

                    (b) Failure to make the motion at the close of the State’s
                    evidence or after all the evidence is not a bar to making the
                    motion at a later time as provided in subsection (a).

       N.C. Gen. Stat. § 15A-1227(a)(3), (b) (2019).

¶ 21         We therefore conclude that Defendant properly preserved an objection to the

       sufficiency of the evidence. See State v. Golder, 374 N.C. 238, 246, 839 S.E.2d 782,

       788 (2020) (holding that a defendant preserves all insufficiency of the evidence issues

       by making a timely motion to dismiss).

       II. Statutory Rape as Predicate Felony

¶ 22         Defendant argues that statutory rape is a strict-liability offense, and as such,

       it cannot serve as a predicate felony for a felony-murder charge because it lacks any

       element of criminal intent. We disagree.

¶ 23         Section 14-17(a) of the North Carolina General Statutes defines first-degree

       murder and enumerates the offenses that may serve as predicate felonies for first-

       degree murder under the felony-murder rule: “A murder . . . which shall be committed

       in the perpetration or attempted perpetration of any arson, rape or a sex offense,
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       robbery, kidnapping, burglary, or other felony committed or attempted with the use

       of a deadly weapon shall be deemed to be murder in the first degree[.]” Our Supreme

       Court has noted that the predicate crimes listed in § 14-17(a) share a common

       requirement: “actual intent on the part of the accused to commit the crime.” State v.

       Jones, 353 N.C. 159, 169, 538 S.E.2d 917, 925 (2000).

¶ 24         Here, the State predicated Defendant’s felony-murder charge on the crime of

       statutory rape of a child by an adult, as defined by N.C. Gen. Stat. § 14-27.23(a): “A

       person is guilty of statutory rape of a child by an adult if the person is at least 18

       years of age and engages in vaginal intercourse with a victim who is a child under

       the age of 13 years.” The crime of statutory rape does not require proof of knowledge

       of the child’s age, and it “requir[es] nothing more than commission of the act

       prohibited” to support a conviction. State v. Anthony, 133 N.C. App. 573, 578, 516

       S.E.2d 195, 198 (1999), aff’d, 351 N.C. 611, 528 S.E.2d 321 (2000).

¶ 25         Defendant argues that statutory rape lacks the necessary intent to support a

       felony-murder charge—the “actual intent on the part of the accused to commit the

       crime.” Jones, 353 N.C. at 169, 538 S.E.2d at 925. We disagree with Defendant’s

       interpretation of “strict-liability offense.” Rape is a general-intent crime. Id. at 167,

       538 S.E.2d at 924. “[T]he forbidden conduct under the statutory rape provision is the

       act of intercourse itself[.]” State v. Weaver, 306 N.C. 629, 637, 295 S.E.2d 375, 380
       (1982) (citation omitted), disapproved of on other grounds by State v. Collins, 334 N.C.
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       54, 431 S.E.2d 188 (1993). As such, statutory rape is a strict-liability offense only in

       that consent and mistake of age are not valid defenses. Anthony, 133 N.C. App. at

       579, 516 S.E.2d at 198–99. We do not take those limitations on defenses to mean that

       the commission of statutory rape does not require the intent to commit an act, that

       is, sexual intercourse, or “the slightest penetration of the sexual organ of the female

       by the sexual organ of the male.” State v. Murry, 277 N.C. 197, 203, 176 S.E.2d 738,

       742 (1970).

¶ 26         Defendant argues, however, that “[t]he Jones holding limits application of the

       felony murder rule to those felonies with an actual intent element[.]” Jones involved

       an impaired-driving collision that resulted in two deaths; the defendant was

       convicted of, inter alia, first-degree murder under the felony-murder rule, with the

       crime of assault with a deadly weapon inflicting serious injury as the predicate felony.

       353 N.C. at 162–63, 538 S.E.2d at 921. The defendant operated a motor vehicle in a

       culpably or criminally negligent manner such that it constituted a deadly weapon. Id.
       at 164–65, 538 S.E.2d at 922–23.

¶ 27         The Supreme Court examined N.C. Gen. Stat. § 14-17 and determined that

                     three types of criminal conduct . . . qualify as first-degree
                     murder: (1) willful, deliberate, and premeditated killings
                     (category 1); (2) killings resulting from poison,
                     imprisonment, starvation, torture, or lying in wait
                     (category 2); and (3) killings that occur during specifically
                     enumerated felonies or during a felony committed or
                     attempted with the use of a deadly weapon (category 3). All
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                    of these categories require that the defendant have a mens
                    rea greater than culpable or criminal negligence; that is,
                    they all require that the defendant had actual intent to
                    commit the act that forms the basis of a first-degree
                    murder charge.

       Id. at 166, 538 S.E.2d at 923–24 (citation and internal quotation marks omitted).

¶ 28         Importantly, the Jones Court noted that the conduct in category 3 does not

       necessarily require an intent to kill; “however, the actual intent to commit the

       underlying felony is required. This is not to imply that an accused must intend to

       break the law, but rather that he must be purposely resolved to participate in the

       conduct that comprises the criminal offense.” Id. at 167, 538 S.E.2d at 924 (emphasis

       added).

¶ 29         Concluding that all of the enumerated felonies in the murder statute “require

       a level of intent greater than culpable negligence on the part of the accused[,]” id.,
       the Jones Court held that “culpable negligence may not be used to satisfy the intent

       requirements for a first-degree murder charge[,]” id. at 163, 538 S.E.2d at 922.

¶ 30         We disagree with Defendant that statutory rape is analogous to a culpably or

       criminally negligent offense and that it may not serve as a predicate felony for felony

       murder. Indeed, the logic of Jones seems to support a conclusion to the contrary.

       Statutory rape of a child by an adult requires that the defendant “engage[ ] in vaginal

       intercourse with a victim who is a child under the age of 13 years.” N.C. Gen. Stat.

       § 14-27.23(a). We cannot imagine a scenario in which a defendant could “engage[ ] in
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       vaginal intercourse with a victim” in a criminally negligent manner; rather, statutory

       rape, unlike impaired driving that results in death, such as that at issue in Jones,

       requires that the perpetrator “be purposely resolved to participate in the conduct that

       comprises the criminal offense.” Jones, 353 N.C. at 167, 538 S.E.2d at 924. This is

       true regardless of the fact that “an individual may commit the crime of statutory

       [rape] regardless of the defendant’s mistake or lack of knowledge of the child’s age”

       and regardless of the victim’s alleged consent. State v. Sines, 158 N.C. App. 79, 84,

       579 S.E.2d 895, 899, cert. denied, 357 N.C. 468, 587 S.E.2d 69 (2003).

¶ 31          Defendant argues, however, that while attempted statutory rape possesses an

       intent element, completed statutory rape does not. In Sines, the defendant argued

       that “attempted statutory sexual offense is a logical impossibility under North

       Carolina law”2 because “it is logically impossible to have the specific intent to commit

       a strict liability crime which does not require a specific intent.” Id. at 84–85, 579

       S.E.2d at 899–900. Our Court rejected this argument and explained that, in order to

       prove attempt—a specific-intent offense—“the State must show: (1) the intent to

       commit the substantive offense, and (2) an overt act done for that purpose which goes




              2 Statutory sexual offense with a child by an adult is a slightly broader offense than

       statutory rape in that a defendant commits statutory sexual offense by engaging in a “sexual
       act,” N.C. Gen. Stat. § 14-27.28, defined as any act of cunnilingus, fellatio, analingus, anal
       intercourse, or the penetration by any object of the genital or anal opening of a person’s body,
       with a child who is under 13 years old. N.C.P.I.--Crim. 207.45A (2019)
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       beyond mere preparation, but (3) falls short of the completed offense.” Id. at 85, 579

       S.E.2d at 899 (citation and internal quotation marks omitted).

¶ 32         In holding that attempted statutory sexual offense is a valid crime under North

       Carolina law, our Court rejected the defendant’s argument that the offense does not

       require intent:

                    [T]he intent required for attempted statutory sexual
                    offense is the intent to engage in a sexual act. The intent
                    element of attempted statutory sexual offense does not
                    require that the defendant intended to commit a sexual act
                    with an underage person, but only that [the] defendant
                    intended to commit a sexual act with the victim. [The
                    d]efendant’s knowledge of [the] victim’s age or [the]
                    victim’s consent are not defenses to the crime of attempted
                    statutory sexual offense, just like these defenses are not
                    valid if the crime of statutory sexual offense is completed.

       Id. at 86, 579 S.E.2d at 900.

¶ 33         The logic and holding of Sines apply with equal force to the issue at hand. It is

       true that “the intent element of . . . statutory [rape] does not require that the

       defendant intend[ ]” to engage in vaginal intercourse with an underage person,

       because mistake or lack of knowledge of age is not a defense. Id. Nonetheless, both

       completed and attempted statutory rape require “that [the] defendant intend[ ] to

       commit a sexual act with the victim.” Id.
¶ 34         Applying the analysis of the Jones and Sines decisions to the facts at hand, we

       conclude that the intent to commit the underlying act of sexual intercourse, inherent
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       in the offense of statutory rape, satisfies the intent required for a crime to serve as

       the basis of a felony-murder charge. Thus, the trial court did not err in denying

       Defendant’s motion to dismiss.

       III. Acquittal of Statutory Rape

¶ 35         Defendant further argues that his first-degree murder conviction must be

       vacated because the jury acquitted him of the predicate felony. Defendant’s argument

       is, in essence, that the jury’s verdicts—finding him guilty of felony murder, with

       statutory rape as the underlying felony, but not guilty of statutory rape—are

       inconsistent and contradictory. We disagree.

¶ 36         First-degree murder under the felony-murder rule does not require proof of

       premeditation and deliberation. State v. Wright, 282 N.C. 364, 369, 192 S.E.2d 818,

       822 (1972). Instead, in felony-murder cases, “there is a fictional transfer of the malice

       which plays a part in the underlying felony to the unintended homicide so that the

       homicide is deemed committed with malice.” State v. Gardner, 315 N.C. 444, 456, 340

       S.E.2d 701, 710 (1986). As we concluded above, statutory rape of a child under 13 by

       an adult may serve as the underlying felony in support of a charge of first-degree

       murder under the felony-murder rule. However, as explained below, the jury need

       not convict on the predicate felony where the evidence presented at trial is sufficient

       to support a conviction of both felony murder and the underlying felony.

¶ 37         In North Carolina, our jurisprudence distinguishes between verdicts that are
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       inconsistent and those that are both inconsistent and legally contradictory. See, e.g.,

       State v. Mumford, 364 N.C. 394, 398, 699 S.E.2d 911, 914 (2010). “It is firmly

       established that when there is sufficient evidence to support a verdict, mere

       inconsistency will not invalidate the verdict.” Id. (citation and internal quotation

       marks omitted). However, verdicts that are inconsistent and contradictory entitle a

       defendant to relief. Id.
¶ 38          Verdicts are inconsistent when they reflect some logical flaw or compromise in

       the jury’s reasoning. For example, in Mumford, the defendant was convicted of five

       counts of felony serious injury by vehicle but acquitted of the lesser offense of driving

       while impaired. Id. at 401, 699 S.E.2d at 916. Felony serious injury by vehicle, defined

       by N.C. Gen. Stat. § 20-141.4(a3), may be proved by a showing that the defendant

       “was engaged in the offense of impaired driving[.]” The Supreme Court concluded that

       these convictions were merely inconsistent, not legally contradictory, because

       conviction of serious injury by vehicle “does not require a conviction of driving while

       impaired . . . but only requires a finding that the defendant was engaged in the

       conduct described” by the offense of driving while impaired. Mumford, 364 N.C. at

       401, 699 S.E.2d at 916. And because the State presented sufficient evidence to

       support the defendant’s convictions for felony serious injury by vehicle, the defendant

       was not entitled to relief. Id.
¶ 39          On the other hand, a verdict is legally contradictory, or mutually exclusive,
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       when it “purports to establish that the defendant is guilty of two separate and distinct

       criminal offenses, the nature of which is such that guilt of one necessarily excludes

       guilt of the other.” Id. at 400, 699 S.E.2d at 915 (citation omitted). For example, where

       a defendant was convicted of one count of embezzlement and one count of obtaining

       property by false pretenses based on the same facts, the Supreme Court concluded

       that the verdicts were legally contradictory:

                    [T]o constitute embezzlement, the property in question
                    initially must be acquired lawfully, pursuant to a trust
                    relationship, and then wrongfully converted. On the other
                    hand, to constitute false pretenses the property must be
                    acquired unlawfully at the outset, pursuant to a false
                    representation. This Court has previously held that, since
                    property cannot be obtained simultaneously pursuant to
                    both lawful and unlawful means, guilt of either
                    embezzlement or false pretenses necessarily excludes guilt
                    of the other. . . .

                          [Therefore] a defendant cannot be convicted of both
                    embezzlement and false pretenses based upon a single
                    transaction[.]

       State v. Speckman, 326 N.C. 576, 578, 391 S.E.2d 165, 166–67 (1990) (citations

       omitted).

¶ 40         Merely inconsistent verdicts do not entitle the defendant to relief. The United

       States Supreme Court settled the issue in United States v. Powell, in which the Court

       addressed an argument that acquittal of a predicate felony necessitated relief from

       conviction for the compound felony:
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                    [R]espondent’s argument that an acquittal on a predicate
                    offense necessitates a finding of insufficient evidence on a
                    compound felony count simply misunderstands the nature
                    of the inconsistent verdict problem. Whether presented as
                    an insufficient evidence argument, or as an argument that
                    the acquittal on the predicate offense should collaterally
                    estop the Government on the compound offense, the
                    argument necessarily assumes that the acquittal on the
                    predicate offense was proper—the one the jury “really
                    meant.” This, of course, is not necessarily correct; all we
                    know is that the verdicts are inconsistent. The Government
                    could just as easily—and erroneously—argue that since the
                    jury convicted on the compound offense the evidence on the
                    predicate offense must have been sufficient. The problem
                    is that the same jury reached inconsistent results[.]

       469 U.S. 57, 68, 83 L. Ed. 2d 461, 470–71 (1984).

¶ 41         Inconsistent verdicts, therefore,

                    present a situation where “error,” in the sense that the jury
                    has not followed the court’s instructions, most certainly has
                    occurred, but it is unclear whose ox has been gored. Given
                    this uncertainty, and the fact that the Government is
                    precluded from challenging the acquittal, it is hardly
                    satisfactory to allow the defendant to receive a new trial on
                    the conviction as a matter of course.

       Id. at 65, 83 L. Ed. 2d at 468–69.

¶ 42         Here, Defendant’s convictions are not legally contradictory. The State

       submitted three theories of murder to the jury: (1) first-degree murder based on

       premeditation and deliberation, (2) first-degree murder based on felony murder, and

       (3) second-degree murder. The trial court’s instructions allowed the jury to find

       Defendant guilty of felony murder if it found that he killed Ms. Adams “while
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       committing or while attempting to commit the crime of statutory rape of a child under

       the age of thirteen[.]” The jury found defendant guilty of first-degree murder based

       on felony murder but not guilty of the separately charged offense of statutory rape.

       But the jury may rely on the act of committing or attempting statutory rape in

       support of felony murder without a conviction of statutory rape. See Mumford, 364

       N.C. at 401, 699 S.E.2d at 916; see also N.C. Gen. Stat. § 14-17(a) (“A murder . . .

       which shall be committed in the perpetration or attempted perpetration of any arson,

       rape or a sex offense, robbery, kidnapping, burglary, or other felony committed or

       attempted with the use of a deadly weapon shall be deemed to be murder in the first

       degree[.]” (emphasis added)).

¶ 43         Further, had the jury found Defendant guilty of both felony murder and the

       predicate felony, the trial court would have been required to arrest judgment on the

       predicate felony because “a defendant may not be punished both for felony murder

       and for the underlying, ‘predicate’ felony, even in a single prosecution.” State v.

       Coleman, 161 N.C. App. 224, 234, 587 S.E.2d 889, 896 (2003) (quoting Gardner, 315

       N.C. at 460, 340 S.E.2d at 712). Moreover, the State could have proceeded solely on

       felony murder based on statutory rape without charging statutory rape; indeed, our

       Supreme Court in State v. Carey suggested that

                    the better practice where the State prosecutes a defendant
                    for first-degree murder on the theory that the homicide was
                    committed in the perpetration or attempt to perpetrate a
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                                           2021-NCCOA-186

                                          Opinion of the Court



                    felony under the provisions of G.S. 14-17, would be that the
                    solicitor should not secure a separate indictment for the
                    felony. If he does, and there is a conviction of both, the
                    defendant will be sentenced for the murder and the
                    judgment will be arrested for the felony under the merger
                    rule.

       288 N.C. 254, 274, 218 S.E.2d 387, 400 (1975), vacated in part on other grounds and

       remanded, 428 U.S. 904, 49 L. Ed. 2d 1209 (1976). Under those circumstances, where

       the State presented sufficient evidence of the predicate felony, we would not doubt

       the jury’s determination that the defendant committed the underlying offense merely

       because there was no conviction on the underlying offense.

¶ 44         That the jury’s verdicts seem inconsistent does not entitle Defendant to relief

       because “it is unclear whose ox has been gored.” Powell, 469 U.S. at 65, 83 L. Ed. 2d

       at 469. Defendant suggests that the jury reached the conclusions it did because it was

       unconvinced that Defendant perpetrated a statutory rape. However, “[i]t is equally

       possible that the jury, convinced of guilt, properly reached its conclusion on the

       [felony-murder charge], and then through mistake, compromise, or lenity, arrived at

       an inconsistent conclusion on the [predicate] offense.” Id. at 65, 83 L. Ed. 2d at 468.

       Here, Defendant “is given the benefit of h[is] acquittal on the counts on which [ ]he

       was acquitted, and it is neither irrational nor illogical to require h[im] to accept the

       burden of conviction on the counts on which the jury convicted.” Id. at 69, 83 L. Ed.

       2d at 471.
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                                          2021-NCCOA-186

                                         Opinion of the Court



                                           Conclusion

¶ 45         We conclude that statutory rape sufficiently supported Defendant’s felony-

       murder conviction and that the jury’s verdicts were not legally contradictory.

       Accordingly, we conclude that Defendant received a fair trial, free from error.

             NO ERROR.

             Judges WOOD and JACKSON concur.
